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8                             UNITED STATES DISTRICT COURT
9                            SOUTHERN DISTRICT OF CALIFORNIA
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11    ANTON EWING,                                       Case No.: 19cv1788-AJB(RBB)
12                                      Plaintiff,
                                                         ORDER SETTING RULE 26
13    v.                                                 COMPLIANCE
14    RELIANT CREDIT REPAIR, LLC,
15                                   Defendant.
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18         On February 18, 2021, the Court discussed compliance with rule 26 of the Federal
19   Rules of Civil Procedure and issues the following orders:
20         1.     No objections were presented to initial disclosure under Federal Rule of
21   Civil Procedure, rule 26(a)(1)(A-D). The parties are ordered to proceed with the initial
22   disclosure process. Any objections to initial disclosure will be resolved as required by
23   rule 26.
24         2.     The rule 26(f) conference shall be completed on or before March 29, 2021.
25         3.     A joint discovery plan shall be lodged with Magistrate Judge Brooks on or
26   before April 8, 2021.
27         4.     The initial disclosures pursuant to rule 26(a)(1)(A-D) shall occur on or
28   before April 12, 2021. Any motions addressing disputes related to initial disclosures

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1    shall be filed no later than thirty (30) days following the date the disclosures were due.
2    The 30-day deadline will not be extended without a prior Court order; counsel cannot
3    unilaterally extend the deadline. For example, ongoing meet-and-confer efforts or
4    supplemental disclosures do not extend the deadline. A failure to comply may bar the
5    party from filing a corresponding motion.
6          IT IS SO ORDERED.
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8    Dated: February 18, 2021

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13   cc: Judge Anthony J. Battaglia

14   All Parties of Record

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